UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,
                                                                  ORDER
                                     Plaintiff,
                                                                  03-CR-6033L
                        v.


CHAD MARKS,

                              Defendant.
________________________________________________


       On April 20, 2020, the Court issued a Decision and Order (Dkt. #536) granting defendant

Chad Marks’s motion for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(1)(A)(i).

Pursuant to that decision an amended judgment was filed (Dkt. #537), and Marks has since been

released from prison.

       Several motions remain pending on the Court’s docket in this case, all of which have

been mooted by the Court’s April 20 Decision and Order. Those motions are therefore denied as

moot, as set forth below.

                                        CONCLUSION

       Defendant’s motion for relief under 28 U.S.C. § 2255 (Dkt. #424), the Government’s

motion to strike and/or dismiss defendant’s motion (Dkt. #427), defendant’s motion to seal (Dkt.

#486), and defendant’s motion for compassionate release (Dkt. #545) are denied as moot.

       IT IS SO ORDERED.


                                     _______________________________________
                                              DAVID G. LARIMER
                                            United States District Judge
Dated: Rochester, New York
       February 4, 2021.
